USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 1 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 2 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 3 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 4 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 5 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 6 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 7 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 8 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 9 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 10 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 11 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 12 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 13 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 14 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 15 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 16 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 17 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 18 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 19 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 20 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 21 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 22 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 23 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 24 of 25
USDC IN/ND case 2:18-cv-00375-JVB-JPK document 5 filed 07/06/18 page 25 of 25
